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         Exhibit 1
           Case 1:21-cv-02131-CJN-MAU Document 75-14 Filed 03/15/24 Page 2 of 3

                                             Susman Godfrey l.l.p.
                                              a registered limited liability partnership
                                                             SUITE 5100
                                                      1000 LOUISIANA STREET
                                                  HOUSTON, TEXAS 77002-5096
                                                            (713) 651-9366
                                                          FAX (713) 654-6666
                                                         www.susmangodfrey.com
                                                            __________
            Suite 1400                                        Suite 3000                               32nd Floor
     1900 Avenue of the Stars                              401 Union Street                    1301 Avenue of the Americas
Los Angeles, California 90067-6029                 Seattle, Washington 98101-2683            New York, New York 10019-6023
         (310) 789-3100                                     (206) 516-3880                          (212) 336-8330
             __________                                        __________                               __________

                                  Jonathan J. Ross
                                                                                           E-Mail JROSS@susmangodfrey.com
                            Direct Dial (713) 653-7813




               March 14, 2024

               VIA E-MAIL
               Eric.parish@innovativedriven.com
               Eric Parish
               Innovative Driven

               Dear Mr. Parish:

               I write urgently because I have been informed that counsel for Patrick Byrne,
               Stephanie Lambert, has or is migrating data to your e-discovery platform, including
               confidential documents of our client, Dominion Voting Systems. Ms. Lambert is
               in flagrant breach of the parties’ Amended Protective Order in U.S. Dominion, Inc.
               et al. v. Patrick Byrne (1:21-cv-02131), Att. A, having already transmitted
               confidential Dominion documents to a third-party Sheriff Dar Leaf and filed
               confidential documents without authorization on the public docket in her criminal
               case.

               Ms. Lambert is in continual breach of the Amended Protective Order and has made
               zero assurances that she will not continue to violate it. We have good cause to
               believe that she is transferring Dominion documents to Innovative Driven for the
               purpose of continuing to access and improperly disseminate them to third parties.
               This belief is further supported by the fact that as of March 12, 2024, Mr. Byrne’s
               prior counsel of record, the McGlinchey firm, has withdrawn their representation
               of Mr. Byrne; Ms. Lambert has now appeared as his counsel of record.

               On March 12, 2024, Dominion sought relief from the Court for this misconduct,
               Att. B. The parties intend to raise the issue in a hearing set for Monday, March 18,
               2024.

               Accordingly, pending the Court’s resolution of this issue, and so that you do
               not facilitate Ms. Lambert’s knowing and willful breach of the Amended
               Protective Order, we hereby demand that you immediately CEASE AND
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  Mr. Eric Parish
  March 14, 2024
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  DESIST provision of access to Dominion documents to anyone, including Ms.
  Lambert.

  Please confirm in response to this letter that you will securely segregate the
  Dominion productions and that you will not provide anyone, including Ms.
  Lambert, or anyone from her firm, or Patrick Byrne access to Dominion
  productions pending judicial resolution.

  Should you have any questions, please contact us.


  Sincerely,



  Jonathan J. Ross

   Enclosure:
